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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

___________________________________
                                             )
In re: The Home Depot, Inc., Customer        )   Case No.: 1:14-md-02583-TWT
Data Security Breach Litigation              )
                                             )       ALL CASES
___________________________________

                    CASE MANAGEMENT ORDER NO. 3

      On January 16, 2015, the Court entered Case Management Order No. 2

(Doc. No. 36), governing various matters in this multidistrict preceding until

leadership appointments could be made. Having come before the Court for a

hearing on the Plaintiffs’ leadership applications for the Consumer Cases and the

Financial Institution Cases on February 12, 2015, and leadership applications

having been approved, upon the agreement of all counsel and for good cause

shown, the Court amends certain provisions of Case Management Order No. 2 as

follows:

      (1)   Master Complaints for Each Track and Briefing on Rule 12(b)

Motions. To facilitate handling of the litigation, the Court directs that plaintiffs

file master consolidated complaints in each track and that briefing on motions to

dismiss proceed separately according to the following schedule:
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   Event                              Consumer Track            Fin. Institutions
                                      Deadline                  Track Deadline

   Filing Master Complaint            May 1, 2015               May 15, 2015

   Rule 12(b) motions                 June 1, 2015              June 15, 2015

   Plaintiffs’ oppositions            July 1, 2015              July 15, 2015

   Defendant’s replies                July 31, 2015             August 17, 2015

      (2)   Communications with Putative Class Members.              In accordance

with Local Rule 23.1(C)(2), the parties have met and conferred regarding whether

proper management of the case or the interests of putative class members require

the entry of an order limiting communications with putative class members. The

parties agree no order limiting class member communications is necessary and will

abide by the requirements of the local rules regarding such communications.

      (3)   CM/ECF Registration

      The Court has previously ordered all attorneys participating in this MDL

proceeding to register with the Court’s CM/ECF system. (CMO No. 1, ¶ 1(b), Doc.

No. 3). Having now completed the Initial Conference and appointed leadership,

the Court orders that electronic service of documents via the Court’s CM/ECF

system satisfies the obligations of service. Hereafter, unless otherwise ordered,

neither the clerk’s office nor counsel for the parties shall be obligated to provide

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service copies of any filings or related orders by U.S. Mail or any other means to

attorneys who have not registered with the Court’s CM/ECF system.

      (4) The parties shall adhere to all other aspects of CMO No. 2. A Status

Conference shall be conducted on March 25, 2015 at 10:00 a.m. EST in Courtroom

2108, United States Courthouse, 75 Spring Street, S.W., Atlanta, Georgia 30303.

Liaison Counsel shall be responsible for making arrangements for others to

monitor the conference by telephone.

      SO ORDERED, this 20th day of February, 2015.



                                       /s/Thomas W. Thrash
                                       Thomas W. Thrash
                                       United States District Judge




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